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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE
 8
     UNITED STATES OF AMERICA,                               NO. CR09-81-MJP
 9
                                      Plaintiff,
10
               v.                                            SUMMARY REPORT OF
11                                                           U.S. MAGISTRATE JUDGE AS
12   GILBERT MOSES, JR.,                                     TO ALLEGED VIOLATIONS
                                                             OF SUPERVISED RELEASE
13                                    Defendant.

14

15             An initial hearing on a petition for violation of supervised release was held before the

16   undersigned Magistrate Judge on December 30, 2011. The United States was represented by

17   Assistant United States Attorney Kathryn Warma for Ye-Ting Woo, and the defendant by Lee

18   Covell.

19             The defendant had been charged and convicted of Assault Resulting in Serious Bodily

20   Injury, in violation of 18 U.S.C. §§ 2, 113(a)(6), 1151(a), and 1153. On or about September

21   22, 2009, defendant was sentenced by the Marsha J. Pechman, to a term of 37 months in

22   custody, to be followed by 3 years of supervised release.

23             The conditions of supervised release included the requirements that the defendant

24   comply with all local, state, and federal laws, and with the standard conditions. Special

25   conditions imposed included, but were not limited to, participation in substance abuse and

26   mental health programs, financial disclosure, search, prohibition from entering any


     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS OF
     SUPERVISED RELEASE - 1
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 1   establishment where alcohol is the primary commodity, prohibition from drinking alcohol, and

 2   participation in mental health treatment to include the Moral Reconation Therapy Program.

 3          In a Petition for Warrant or Summons, dated December 15, 2011, U.S. Probation

 4   Officer Angela M. McGlynn asserted the following violation by defendant of the conditions of

 5   his supervised release:

 6          1.      Consuming alcohol on or about December 6, December 7, December 12, and

 7                  December 14, 2011, in violation of the special condition that prohibits the

 8                  defendant from consuming alcohol.

 9          The defendant was advised of his rights, acknowledged those rights, and admitted to

10   alleged violation number 1.

11          I therefore recommend that the Court find the defendant to have violated the terms and

12   conditions of his supervised release as set forth in violation number 1, and that the Court

13   conduct a hearing limited to disposition. A disposition hearing on this violation has been set

14   before the Honorable Marsha J. Pechman on January 19, 2012 at 10:00 a.m.

15          Pending a final determination by the Court, the defendant has been detained.

16          DATED this 3rd day of January, 2012.
17

18
                                                   A
                                                   JAMES P. DONOHUE
19                                                 United States Magistrate Judge

20

21
     cc:    District Judge:                Honorable Marsha J. Pechman
22          AUSA:                          Ye-Ting Woo
23          Defendant’s attorney:          Lee Covell
            Probation officer:             Angela M. McGlynn
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     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS OF
     SUPERVISED RELEASE - 2
